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                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF DELAWARE


In re:                                                       Chapter 7

TOUGH MUDDER INC., et al.,                                   Case No. 20-10036 (CSS)
                                                             (Jointly Administered)
                Debtors.
                                                             Re: Docket No. 150




            CERTIFICATION OF NO OBJECTION REGARDING MOTION
          OF PETITIONING CREDITORS FOR AN ORDER ALLOWING AND
         DIRECTING PAYMENT OF ADMINISTRATIVE FEES AND EXPENSES

         The undersigned hereby certifies that, as of the date hereof, he has received no answer,

objection or other responsive pleading to the Motion of Petitioning Creditors for an Order

Allowing and Directing Payment of Administrative Fees and Expenses [Docket No. 150] (the

“Motion”) filed on April 10, 2020. The undersigned further certifies that he has reviewed the

Court’s docket in this case and no answer, objection or other responsive pleading to the Motion

appears thereon. Pursuant to the Notice of Motion, objections to the Motion were to be filed and

served no later than April 27, 2020 at 4:00 p.m. (ET).

         It is hereby respectfully requested that the Order attached to the Motion be entered at the

earliest convenience of the Court.
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Dated: April 28, 2020               CROSS & SIMON, LLC

                                 By: /s/ Kevin S. Mann
                                    Kevin S. Mann (No. 4576)
                                    1105 N. Market Street, Suite 901
                                    Wilmington, DE 19801
                                    (302) 777-4200
                                    kmann@crosslaw.com

                                    Counsel to Valley Builders, LLC, Trademarc
                                    Associates Inc., and David Watkins Homes Inc.




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